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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

     ROSY GIRON DE REYES, et al.,               )
             Plaintiffs,                        )
                                                )
                      v.                        )           Case No. 1:16-cv-563
                                                )
    WAPLES MOBILE HOME PARK                     )
    LIMITED PARTNERSHIP, et al.,                )
            Defendants.                         )
                                              ORDER

        The matter came before the Court on plaintiffs’ objection to the Magistrate Judge’s Order

 denying plaintiffs’ motion to compel (Doc. 103). Plaintiffs filed their motion to compel (Doc.

 82) on November 11, 2016.

        In essence, plaintiffs seek an Order requiring defendants (i) to produce emails sent from

 defendants and defendants’ lawyers to the employees of a third party, which emails defendants

 contend are protected by work product privilege; and (ii) to produce roughly 60 otherwise-

 discoverable documents in unredacted form, on the ground that defendants had improperly

 redacted portions that defendants considered to be irrelevant.

        On November 17, 2016, the Magistrate Judge denied the motion to compel, concluding

 “upon review of the pleadings and the privilege log,” (i) that defendants had made a “prima facie

 claim of work-product privilege”; (ii) that the “documents that were partially redacted as

 irrelevant . . . need not be listed on the privilege log”; and (iii) that “[i]rrelevant information

 contained within an otherwise relevant document is like any other irrelevant material that need

 not be produced.” Reyes v. Waples Mobile Home Park LP, No. 1:16-cv-563 (E.D. Va. Nov. 17,

 2016) (Order) (Doc. 92). Importantly, however, it does not appear that the Magistrate Judge

 reviewed the actual documents that plaintiff sought. On November 23, 2016, plaintiffs filed a

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 timely objection—which has been thoroughly briefed—and on December 9, 2016, a hearing was

 held.

         As stated from the Bench, the parties’ arguments regarding relevance and work product

 privilege raise inherently factual questions requiring in camera review of the documents at issue.

 This point is self-evident with respect to relevance.1 And as to work product privilege, it is well-

 settled that “[a] party asserting privilege has the burden of demonstrating its applicability.”

 N.L.R.B. v. Interbake Foods, LLC, 637 F.3d 492, 501 (4th Cir. 2011).2 Importantly, however, a

 prima facie showing based on the parties’ privilege log is insufficient to meet defendants’ burden

 to demonstrate that work product privilege applies here. See, e.g., Nat’l Union Fire Ins. Co. v.

 Murray Sheet Metal Co., 967 F.2d 980, 985 (4th Cir. 1992) (“The record before us, as before the

 district court, consisting mainly of the ‘Privileged Documents Log,’ is inadequate to

 conduct the necessary analysis [regarding work product privilege]. Consequently, we remand

 the case to the district court to review the documents and their circumstances, as necessary, and

 apply the Rule 26(b)(3) principles in the first instance.”). Thus, it is appropriate to remand

 this matter for in camera review of the documents implicated by plaintiff’s motion to compel.

         Accordingly, for good cause, and for the reasons stated from the Bench,

         It is hereby ORDERED that plaintiff’s objection (Doc. 103) is SUSTAINED IN PART.




 1
   Although the Magistrate Judge correctly concluded that “[i]rrelevant information contained
 within an otherwise relevant document is like any other irrelevant material that need not be
 produced,” the Magistrate Judge did not appear to address the question whether the redacted
 information was indeed irrelevant. Reyes v. Waples Mobile Home Park LP, No. 1:16-cv-563
 (E.D. Va. Nov. 17, 2016) (Order) (Doc. 92).
 2
  See also RLI Ins. Co. v. Conseco, Inc., 477 F. Supp. 2d 741, 748 (E.D. Va. 2007) (“[T]he party
 asserting work-product protection bears the burden [to] come forward with a specific
 demonstration of facts supporting the requested protection, preferably though affidavits from
 knowledgeable persons.”) (citation and internal quotation marks omitted).
                                                  2
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        It is further ORDERED that the matter is REMANDED to the Magistrate Judge for

 iuither proceedings, including an in camera inspection of the documents at issue to resolve

 defendants' claims regarding work product privilege and relevance.

        It is further ORDERED that defendants are DIRECTED to submit to the Magistrate

 Judge the documents at issue in plaintiffs' motion to compel^ no later than S:00 pjn. Tuesday,
 December 13,2016.

        It is further ORDERED thai, with respect to the documents redacted on relevance

 grounds, defendants arc DIRECTED to submit to die Magistrate Judge unredacted copies of

 those documents and toindicate which portions were redacted.^
        TheCleric is directed to send a copyof ^s Orderto all counsel of record.

 Alexandria, Virginia
 December 9,2016



                                T S. Ellis, III
                                United States Distr^t Judge




 ^See, e.g.. Doc. 84 at 2-3 &nn.1 &2.
  Of course, nothing in this Order precludes defendants from disclosing to plaintiff some or all
 of the redacted information implicated by plainti£f*s motion to compel, particularly in light of
 defendants' claim that the information is unrelated to plaintijOk' causes of action. Given the
 circumstances presentedthus far, it sti^s credulityto believe that defimdants would suffer harm
 by disclosing irrelevant infonnation akeady contained in otherwise discoverable documents.
 Indeed, it appears that defendants' redactions have operated chiefly to raise litigation and
 opportunity costs.
